 Case 2:23-cv-00473-JRG Document 12 Filed 01/16/24 Page 1 of 2 PageID #: 194




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

       Plaintiff,
                                                     CASE NO. 2:23-CV-00473-JRG
       v.
                                                       JURY TRIAL DEMANDED
DEXCOM, INC.,

       Defendant.


                             DEFENDANT DEXCOM, INC.’S
                              NOTICE OF COMPLIANCE

       In compliance with the Court’s standing order regarding motions under 35 U.S.C. § 101,

Defendant DexCom, Inc. hereby files this Notice of Compliance. The joint letter is attached as

Exhibit A.
 Case 2:23-cv-00473-JRG Document 12 Filed 01/16/24 Page 2 of 2 PageID #: 195




 Dated: January 16, 2024                     Respectfully submitted,

                                             /s/ Rodeen Talebi
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                                             ATTORNEYS FOR DEFENDANT
                                             DEXCOM, INC.




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy has been electronically filed using the CM/ECF

filing system on January 16, 2024, which automatically sends email notifications to all counsel of

record and which will permit viewing and downloading of same from the CM/ECF system.

                                             /s/ Rodeen Talebi
                                             Rodeen Talebi




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